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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MONG’S DAIRY, A DIVISION OF                          )
SCHNEIDER’S DAIRY, INC.                              )
                                                     )
                          Plaintiff,                 )
                                                     )
        v.                                           )         Case No. 2:20-cv-00482-AJS
                                                     )
                                                     )
TEAMSTER’S LOCAL UNION NO. 205                       )
                                                     )
                          Respondent.                )

              MOTION FOR STATUS AND/OR SETTLEMENT CONFERENCE

        Mong’s Dairy, a division of Schneider’s Dairy, Inc. (“Plaintiff”) by and through its

undersigned counsel, submits the following Motion for Status and/or Settlement Conference,

stating the following in support thereof:

        1.         On June 18, 2020, the parties conducted a mediation before the Hon. Ronald

Folino.1

        2.         Despite the best efforts of Judge Folino, the mediation was not successful and

ended abruptly.

        3.         The parties are not sufficiently far apart on the principal issue of disagreement to

warrant incurring the additional time and expense, not to mention the time and judicial resources

that would need to be expended by the Court, that continued litigation of the underlying issues

necessarily would require.




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          Originally, and as was represented to the Court in the parties’ Joint Motion for Extension of Time to File
Response/Reply to Respondent’s Motion for Judgment as a Matter of Law [Doc. No. 10], the mediation was to be
conducted on June 23, 2020. However, due to a desire to conduct the mediation in person, and due to a scheduling
conflict on June 23, 2020 that otherwise would have prevented an in-person mediation, the mediation was moved to
June 18, 2020.
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        4.        This Court’s involvement in the resolution of this matter at this juncture would

be highly effective in bringing this matter to satisfactory resolution and, in doing so, would

prevent the continued and needless expenditure of valuable resources, as well as this Court’s

time.

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court conduct a status

and/or settlement conference, requiring in-person attendance by all parties, as soon as is

practicable and, at the very least, prior to the deadlines set forth in the Court’s Order granting the

parties’ Joint Motion for Extension of Time to File Response/Reply to Respondent’s Motion for

Judgment as a Matter of Law [Doc. Nos. 10, 12].



Dated: June 19, 2020                           Respectfully submitted,

                                               GORDON & REES LLP

                                               s/ Craig W. Snethen
                                               Craig W. Snethen
                                               Pa. I.D. No. 86050
                                               707 Grant Street, Suite 3800
                                               Pittsburgh, PA 15219
                                               (412) 577-7400

                                               ATTORNEYS FOR PLAINTIFF




                                                 2
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MONG’S DAIRY, A DIVISION OF                   )
SCHNEIDER’S DAIRY, INC.                       )
                                              )
                       Plaintiff,             )
                                              )
       v.                                     )       Case No. 2:20-cv-00482-AJS
                                              )
                                              )
TEAMSTER’S LOCAL UNION NO. 205                )
                                              )
                       Respondent.            )

                                    CERTIFICATE OF SERVICE

              I hereby certify that the foregoing Motion for Status and/or Settlement
Conference was filed electronically. Notice of this filing will be sent to all parties by operation
of the Court’s electronic filing system. Parties may access this filing through the Court’s
system.


                                                      s/ Craig W. Snethen




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